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                                              UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO. 21-60125-CIV-SCOLA/GOODMAN

   JIANGMEN BENLIDA PRINTED
   CIRCUIT CO., LTD.,

   Plaintiff,

   v.

   CIRCUITRONIX LLC,

   Defendant.
   ____________________________________/

                         CIRCUITRONIX, LLC’S MOTION TO EXCLUDE OR LIMIT
                            TESTIMONY OF PLAINTIFF’S REBUTTAL EXPERT
                            WITH INCORPORATED MEMORANDUM OF LAW

              Defendant Circuitronix, LLC (“CTX”) respectfully moves for an order to exclude

   portions of the report and testimony of Plaintiff Jiangmen Benlida Printed Circuit Co., Ltd.’s

   (“Benlida”) expert Randall M. Paulikens of A.J. Santye & Co., P.A (“Paulikens Report”).

   Benlida has disclosed Paulikens as an expert, purportedly to rebut the report and testimony of

   CTX’s accounting experts, Barry Mukamal of KapilaMukamal, LLP and Mark Parisi of Citrin

   Cooperman, LLC (“KM Report”), whom CTX disclosed to support part of the damages sought

   on its counterclaim.1

              Paulikens’ rebuttal report and likely testimony, however, is not proper rebuttal as it

   improperly presents affirmative opinions on the amount of damages Benlida seeks in its case-in-

   chief. His so-called “Response Report’s” main criticism of the KM Report also seems to focus




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     CTX disclosed both experts because Mr. Parisi left KapilaMukamal during the period of time
   that this case was stayed and had performed the complicated assembly of underlying data on
   which the KM Report relies during his employment with that firm.

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   explicitly on “[w]hat is not in the KM Report” (Paulikens Report (Exhibit 1) at 7), i.e.,

   consideration of transactions between Benlida and non-party Circuitronix (Hong Kong) Ltd.

   (“CTX-HK”). Paulikens, however, may not fault CTX’s experts for failing to account for a

   variable (like CTX-HK) that is not part of CTX’s counterclaim—even if it may be part of

   Benlida’s affirmative case. CTX’s experts were prepared to meet those points about CTX-HK in

   a rebuttal report, but were deprived of that opportunity by Benlida’s failure to timely disclose

   Paulikens as an affirmative expert.

              Finally, portions of Paulikens’ report and deposition testimony improperly provide legal

   conclusions regarding CTX’s supposed “strong operational control” over CTX-HK (id. at 13),

   and related topics regarding these entities’ supposed lack of corporate separation, in a manner

   that is likely to either confuse or be unhelpful to a jury.

              CTX accordingly seeks an order excluding any portions of Paulikens’ report and any

   expert testimony related to these topics.

                                                                 BACKGROUND

              The nub of the parties’ dispute is relatively straightforward: Benlida claims that CTX

   failed to pay over $13 million in invoices for printed circuit boards from 2018 to 2020, DE 26

   (Third Amended Complaint (“TAC”)), ¶¶ 12, 457; CTX claims it actually overpaid for relevant

   2018-to-2020 invoices, and that Benlida failed to properly credit millions of dollars in payments

   or account for accrued penalties for late delivery, DE 34 (Counterclaim), ¶¶ 5, 33-35.

              Things get more complicated with Benlida’s effort to hold CTX responsible for supposed

   debts of non-party CTX-HK—despite never mentioning CTX-HK in its complaint. Central to

   Benlida’s case-in-chief is its worldview—unpled, but developed explicitly in response to CTX’s

   motion for summary judgment—that CTX owes money on invoices issued to CTX-HK because



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   CTX-HK was acting as CTX’s agent or was operating as one and the same company. See DE

   188 (Benlida’s Mem. of Law in Opp. to CTX’s Mot. for Sum. Judgmt) at 2-13. That worldview

   also begins to explain how Benlida’s undisclosed, commingled-FIFO accounting practice serves

   as the basis for its claims that invoices issued to CTX remain unpaid.

              Apart from its TAC (which did not articulate these theories), Benlida had an opportunity

   to advance its damages calculations, relying on these theories, through an expert who could

   analyze and testify as to Benlida’s claims that CTX owed it over $13 million, including debts

   owed by CTX-HK. Pursuant to the Third Amended Scheduling Order, both parties were to

   provide their initial expert witness reports by June 8, 2023. DE 153 at ¶ 1. The parties also were

   permitted to disclose rebuttal reports in accordance with the Federal Rules. Id.; see FED. R. CIV.

   P. 26(a)(2)(D)(ii).

              CTX served the KM Report by the June 8th deadline. The KM Report provided the basis

   for CTX’s counterclaim against Benlida, analyzing accounts-payable reconciliations between

   CTX and Benlida prepared by the parties as well as calculations of lead-time penalties that must

   be subtracted from the amounts Benlida invoiced. See generally KM Report (Exhibit 2). The

   KM Report noted that CTX’s experts had “conducted a preliminary analysis of CTX’s payments

   to ROK Printed Circuit Co., Ltd. (‘ROK’), and [CTX-HK’s] payments to Benlida and ROK to

   have available if necessary as a reference for rebuttal to Benlida’s forthcoming expert report.”

   Id. at 3 n.4. Benlida, however, did not file an expert report by the deadline.

              The scheduling order set the deadline for service of rebuttal reports in accordance with

   Rule 26(a)(2)(D)(ii), so “within 30 days after the other party’s disclosure.” See DE 153 at 2.

   Since Benlida served no affirmative expert report, CTX’s accounting experts had nothing to

   rebut. On July 7, 2023, Benlida served a “Response Report” prepared by Paulikens. Among



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   other things, the Report advances opinions regarding “the amount being sought by the Plaintiff

   Benlida” that relies in part upon “what is not in the KM Report,” i.e., information and analysis

   regarding data and transactions corresponding to CTX-HK or non-party ROK. Paulikens Report

   at 1. Inserting CTX-HK and ROK into his report’s calculus, Paulikens concludes “Benlida is

   actually owed between $3 and $8 million dollars.” Id. at 14; see also id. at 8 (opining that the

   “CTX group would still owe the Benlida Group as much as $8.0 million, again depending upon

   the data source”). He reiterated at his deposition that “[d]epending on the data source[,] Benlida

   is owed, I think, anywhere from the low 3 millions to as much as $8 million.” Transcript of

   Deposition of Randall Paulikens (“Tr.”) (Exhibit 3) Tr. 64:15-18. He reaches that possible

   range for Benlida’s damages despite also testifying that he “wasn’t asked” to prepare a report

   about how much money Benlida is owed (Tr. 63:24-64:8), and denying that he had conducted a

   formal calculation to determine the amount of damages Benlida is owed, see Tr. 55:9-15; see

   also Tr. 51:7-12; Tr. 56:5-22.

              Paulikens also repeatedly faults the KM Report for “focus[ing] on one entity [i.e., CTX]

   to the exclusion of the other [i.e., CTX-HK].” Paulikens Report at 13; see also id. at 8 (stating

   KM “studiously [has] not covered” the assertion that “CTX has underpaid the Benlida group by

   $13.5 million”); id. at 14 (stating “the KM Report only seeks to show one side of the economic

   relationship between the litigants—namely the side that best suits their clients’ needs”). In his

   estimation, CTX’s experts should have considered CTX-HK and ROK because, “from an

   accounting perspective, the CTX entities and the Belinda/ROK entities are very intertwined” and

   because “strong operational control and influence … reduce[] the separation” between CTX and

   CTX-HK and between Benlida and ROK. Id. at 13.




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                                                        MEMORANDUM OF LAW

        I.          PAULIKENS’ IMPROPER REBUTTAL OPINIONS SHOULD BE
                    EXCLUDED

              Paulikens is an initial expert masquerading as a rebuttal expert. His report not only

   agrees with much of the KM Report, but also offers up a figure for Benlida’s own damages and

   faults the KM Report for failing to advance a key legal theory of Benlida’s case-in-chief, i.e.,

   that that transactions between Benlida and CTX-HK are relevant to the question of monies CTX

   allegedly owes Benlida. If Benlida wanted Paulikens to opine on the amount of money owed to

   Benlida or what Benlida perceives to be the “entire economic picture” (Paulikens Report at 4), it

   should have had him do so in an affirmative report within the court-ordered deadline. His tardy

   disclosure a month after that deadline passed was neither substantially justified nor harmless to

   CTX, as it has deprived CTX of the opportunity to rebut Paulikens’ opinions with its own

   experts.

              A. Legal Standard for Rebuttal Expert Reports

              The party offering an expert bears the burden of laying the proper foundation for the

   admission of the expert testimony. See Allison v. McGhan Med. Corp., 184 F.3d 1300, 1306

   (11th Cir. 1999). Admissibility must be shown by a preponderance of the evidence. See id.

              Expert reports must be disclosed “at the times and in the sequence that the court orders.”

   FED. R. CIV. P. 26(a)(2)(D). Rebuttal reports may be filed within thirty days of the opposing

   party’s affirmative expert reports if and only if they present evidence that “is intended solely to

   contradict or rebut evidence on the same subject matter.” FED. R. CIV. P. 26(a)(2)(D)(ii); see

   also Wreal, LLC v. Amazon.com, Inc., No. 14-21385-CIV, 2016 WL 8793317, at *3 (S.D. Fla.

   Jan. 7, 2016) (Goodman, J.) (“strictly h[olding] that ‘[r]ebuttal testimony is permitted only when

   it directly addresses an assertion raised by an opponent’s experts’”) (Court’s emphasis; citation


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   omitted). “If a party attempts to advance new arguments through a ‘rebuttal’ expert, then ‘the

   overwhelming weight of authority is that preclusion is required and mandatory absent some

   unusual or extenuating circumstances—that is, substantial justification.’” Wreal, 2016 WL

   8793317, at *3 (Court’s emphasis, quoting Blake v. Securitas Sec. Servs., Inc., 292 F.R.D. 15, 17

   (D.D.C. 2013)); see also Flamingo S. Beach I Condo. Ass’n, Inc. v. Selective Ins. Co. of Se., 492

   F. App’x 16, 21 (11th Cir. Oct. 10, 2012) (explaining courts “are not hesitant to exclude or

   substantially limit expert opinion testimony at trial when an expert is masquerading as a rebuttal

   expert,” instead of offering an opinion “solely in rebuttal”).

              B. Paulikens’ Opinion and Testimony Regarding Benlida’s Damages Figure Should
                 Be Excluded

              Paulikens describes his “role in this litigation, among others, [a]s to analyze the KM

   Report, and, consequently, quantify the amounts owed to Benlida.” Paulikens Report at 14

   (emphasis added); see also id. at 1 (referring to facts not in the KM report that would actually

   inform the trier of fact of “the order of magnitude of the amount being sought by the Plaintiff

   Benlida”) (emphasis added). His conclusion that “Benlida is actually owed between $3 and $8

   million” (id.; see also Tr. 202:19-203:2)—or any other opinion regarding damages owed to

   Benlida—extends well “beyond the scope of appropriate rebuttal” and must be stricken as

   untimely, Kroll v. Carnival Corp., No. 19-23017-CIV, 2020 WL 4793444, at *5 (S.D. Fla. Aug.

   17, 2020) (Goodman, J.). The KM Report did not venture an opinion on that subject. It

   examined and quantified certain variables pertinent to CTX’s counterclaim against Benlida. The

   KM Report did not scrutinize Benlida’s claimed damages, since that would have been the work

   of a CTX rebuttal report.2


   2
    Even if CTX’s experts had wanted to attempt to pre-but some calculation that Benlida’s expert
   might have disclosed, they could not have done so as a practical matter because Benlida never
   served any initial disclosure of its damages computation, and CTX did not discover material

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              This Court has explicitly held that “a report which adds new damages is not a rebuttal

   expert report.” Kroll, 2020 WL 4793444, at *3 (citing Kendall Lakes Towers Condo. Ass’n, Inc.

   v. Pacific Ins. Co., Ltd., No. 10-24310-civ, 2011 WL 6372198, at * 4 (S.D. Fla. Dec. 20, 2011)).

   A party bears an affirmative burden of proof on its claimed damages, so its damages figure is a

   central part of its case-in-chief. An expert opinion identifying that damages figure or providing

   support for that particular damages amount thus “logically belong[s] in the case-in-chief.” In re

   Trasylol Prods. Liab. Litig., No. 09-01928, 2010 WL 4065436, at *2 (S.D. Fla. Aug. 6, 2010)

   (noting causation is naturally part of the case-in-chief in products liability action against medical

   drug manufacturer) (quoting Benedict v. U.S., 822 F.2d 1426, 1428 (6th Cir.1987)) (internal

   quotation marks omitted).

              Paulikens’ opinion on Benlida’s damages belongs in and supports Benlida’s case-in-chief

   and is not proper rebuttal. See id. (quoting Tramonte v. Fibreboard Corp., 947 F.2d 762, 765

   (5th Cir. 1991)); Kroll, 2020 WL 4793444, at *3, 5, 7 (noting that a plaintiff’s so-called rebuttal

   expert retained to “testify to the extent and substance of [p]laintiff’s injuries, [p]laintiff’s need

   for future medical care and treatment, as well as causation” was “an initial expert who was not

   timely designated” and excluding “all of his non-rebuttal opinions”). As a result, Paulikens’

   affirmative opinion regarding Benlida’s claimed damages should be excluded from evidence as

   an untimely affirmative opinion and improper rebuttal.

              Paulikens seemed to recognize at his deposition that, as a rebuttal expert, he could not

   properly opine on Benlida’s “formal” affirmative damages figure. See Tr. at 51:7-10 (“Q. Have



   aspects bearing on the way Benlida accounted for CTX’s payments until late May 2023, right up
   against the deadline for initial expert disclosures (June 8). Transcripts of Benlida’s witnesses
   were not even available until the eve of that deadline. See DE 184-1 at 14 n.7 (noting not all the
   deposition transcripts of Benlida witnesses had been transcribed as of the filing of CTX’s motion
   for summary judgment on June 9, 2023 (DE 176)).

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   you calculated the amount of damages being sought by Benlida anywhere in this lawsuit? A. No,

   not as a formal calculation.”); Tr. 56:17-22 (“Q. Have you looked at the accounts receivable

   independently to determine how much Benlida is owed in your view? A. Not independently. My

   role is to respond to the four corners of the KM report.”).3 The Court should hold him to his

   deposition concession and exclude any untimely opinion regarding Benlida’s damages—formal

   or informal. That decision requires no “exercise of judicial discretion,” but “an application of

   the … rule [regarding the timing of rebuttal expert disclosures] to the facts,” Flamingo S. Beach

   I, 492 F. App’x at *21 (citing then-existing Local Rule 16.1(k), which tracks the requirement of

   Federal Rule 26(a)(2)(A)(ii)): because Paulikens’ report and specifically his articulation of a

   damages figure for Benlida was “not ‘solely in rebuttal’ to” that of Mukamal and Parisi, it should

   have been disclosed by June 8. It was not.

              Because Benlida may not belatedly smuggle in an expert opinion about its own claimed

   damages as rebuttal testimony regarding CTX’s counterclaim damages, the Court should exclude

   any Paulikens testimony relating to Benlida’s damages figure.




   3
     This and other similar testimony further supports exclusion of any damages estimate Benlida
   seeks to offer for its case-in-chief, since an expert cannot introduce a damages theory to the jury
   without establishing the reliability of that theory based on sufficient facts and data and
   employing a reliable methodology to the facts of the case. See FED. R. EVID. 702. Paulikens
   may not provide estimates of an amount in rebuttal where he has openly admitted he did not do a
   “formal calculation” to come up with “a precise number that Benlida is entitled to,” with all the
   requirements he states such a calculation would entail. Tr. 51:7-24; see also Tr. 53:24-54:9
   (agreeing an independent formal calculation would require an exercise “similar” to the parties’
   reconciliation effort in 2019); Tr. 56:23-57:13 (explaining that an independent analysis of the
   account receivables would require, among other things, “diligently go[ing] through” the parties’
   reconciliations).

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              C. Paulikens’ Testimony and Opinions Criticizing the KM Report for Failing to
                 Take CTX-HK Into Account in Assessing CTX’s Counterclaim Should Be
                 Excluded

              The KM Report does not address CTX-HK’s or ROK’s role in its analysis of CTX’s

   counterclaim because there was no reason to—CTX is the only party in the action seeking

   money from Benlida (and only Benlida), and CTX-HK and ROK only relate to Benlida’s claim.

   CTX’s experts, however, were nevertheless prepared to analyze transactions between CTX-HK,

   ROK, and Benlida as part of a rebuttal to an anticipated initial report by Benlida articulating

   Benlida’s supposed damages based on invoices issued to both CTX and CTX-HK. See KM

   Report at 3 n.4. The Paulikens Report faults CTX’s expert for this perfectly justifiable omission,

   stating “it is what is not in the KM Report that actually informs the reader of the order of

   magnitude of the amount being sought by the Plaintiff Benlida.” Paulikens Report at 1

   (emphasis added). Because CTX was entitled to have its experts’ initial report focus on the

   damages it seeks in its case-in-chief for its counterclaim, and exclude variables that are legally

   irrelevant to that claim (i.e., any money CTX-HK owes Benlida or that CTX and CTX-HK owe

   ROK), the Court should exclude all testimony or opinion in which Paulikens faults CTX’s

   experts for failing to consider that variable. If Benlida had prepared an affirmative report,

   CTX’s experts could have addressed in rebuttal the variables on which Benlida apparently places

   great weight. It would be unfair and misleading to the jury to allow Paulikens to criticize

   Mukamal and Parisi for not having addressed these issues in the absence of a report from Benlida

   explaining its own damages computation in the first instance.

              Paulikens’ report makes plain that his opinion regarding the salience of ROK and

   especially CTX-HK is something the KM Report did not address. At his deposition, Paulikens

   acknowledged that the KM Report had clearly outlined the variables it had and had not

   considered and the work it had and had not completed in its analysis. See, e.g., Tr. 84:25-85:5

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   (“Q. So the KM report was clear about what they were considering and what they weren’t

   considering, right? A. … [t]he short answer, yes.”); Tr. 104:2-3 (same). He more specifically

   acknowledged that he was aware CTX’s experts had either assumed or been told to assume that

   CTX-HK was not relevant for purposes of assessing CTX’s counterclaim against Benlida. See,

   e.g., Tr. 189:12-191:4. Indeed, he even conceded that CTX’s experts had not “relied on”

   spreadsheets with CTX-HK data in reaching their opinions. Compare Tr. 203:3-207:4 (referring

   to spreadsheets containing data related to CTX-HK as materials in CTX’s experts’ possession

   but conceding that they had not relied on “the specific exhibit, no”), with Paulikens Report at 9

   (stating erroneously that the KM Report had “relied upon” these materials relating to CTX-HK).

   In short, Paulikens freely acknowledged, consistent with his report, that he was “pointing out

   something that’s not in [the KM] report.” Tr. 192:22-25 (acknowledging same in response to

   counsel’s question).

              Paulikens’ criticism is therefore not a fair rebuttal to expert opinions about CTX’s

   counterclaim. See In re Trasylol, 2010 WL 4065436, at *2 (“Rebuttal testimony is permitted

   only when it directly addresses an assertion raised by an opponent’s experts.”). His repeated

   observation that CTX’s experts had not considered Benlida’s transactions with CTX-HK, his

   focus on what was not in the KM Report, and his insistence that “[t]here’s a whole other portion

   of a … dispute here” (e.g., Tr. 63:15-17), reflect Benlida’s theory of the case and its claim for

   damages. See Jetport, Inc. v. Landmark Aviation Miami, LLC, No. 1:16-CV-23303-UU, 2017

   WL 7732868, at *6 (S.D. Fla. July 11, 2017) (rejecting supposed rebuttal testimony since

   disclosed purported rebuttal topics were “[w]ithout question, … issues at the center of [the

   proffering party’s] claims and which have been at issue for the duration of this litigation”).




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              Paulikens flips the requirement for rebuttal expert testimony by impermissibly addressing

   in rebuttal assertions not raised by an opponent’s experts (and that were expressly reserved by

   Mukamal and Parisi for a rebuttal opportunity that never arose because of Benlida’s failure to

   comply with the expert-disclosure deadline). Paulikens’ criticism also misses CTX’s experts’

   acknowledgement that they would address those aspects of Benlida’s case in rebuttal—if only

   Benlida had presented timely affirmative opinions.4 Accordingly, his opinions and testimony

   regarding CTX’s experts’ failure to consider CTX-HK or ROK should be excluded. The Court

   should also exclude Paulikens’ related testimony that CTX controls CTX-HK or that CTX and

   CTX-HK are not separate entities on the basis it being improper rebuttal testimony. See

   Paulikens Report at 13.5




   4
     This is thus not a case of proper rebuttal testimony criticizing “an opposing expert’s failure to
   consider certain facts and evidence in arriving at a damages estimate.” Wreal, 2016 WL
   8793317, at *4 (quoting Pandora Jewelers 1995, Inc. v. Pandora Jewelry, LLC, No. 09–61490–
   Civ., 2011 WL 2295269, at *4 (S.D. Fla. June 8, 2011)). CTX’s experts were prepared to
   consider those facts in defending against Benlida’s affirmative “damages estimate” provided
   through an affirmative expert. They need not have done so in considering what Paulikens called
   just “one side of the economic relationship between the litigants” (Paulikens Report at 14)—
   which happens to be the only side at play in the counterclaim.
   5
     As elaborated in Section II below, such testimony should be excluded under the Federal Rules
   of Evidence, but it is also independently inadmissible as improper rebuttal testimony because it
   is wholly outside the class of testimony that “directly addresses an assertion raised by an
   opponent’s experts.” Wreal, 2016 WL 8793317, at *3 (Court’s emphasis). The KM Report
   purposely did not analyze data related to CTX-HK or ROK since such data relates only to
   Benlida’s claim; CTX’s experts instead deferred that analysis to their anticipated rebuttal
   report—but they never had the opportunity to address these matters because Benlida failed to
   disclose an initial report. Even if the Court were to determine that criticizing CTX’s experts for
   failing to discuss CTX-HK and ROK is appropriate at rebuttal—and it should not—Paulikens’
   testimony editorializing about CTX’s control goes well beyond pointing out “an opposing
   expert’s failure to consider certain facts and evidence” in calculating damages. Wreal, 2016 WL
   8793317, at *4. Paulikens should not be permitted to opine on a matter that is neither in the KM
   Report nor even necessary to identify an omission by CTX’s experts.


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              D. Benlida’s Tardy Expert Disclosure Was Neither Substantially Justified Nor
                 Harmless

              Because Benlida failed to provide sufficient, timely disclosures of Paulikens’ opinions

   regarding Benlida’s damages and unfairly criticized the KM report’s failure to address CTX-HK

   and ROK in CTX’s counterclaim, the opinions must be excluded unless they are substantially

   justified or harmless. Because they are neither, the Court should grant CTX’s motion.

              CTX’s experts stated in their report that they had “conducted a preliminary analysis of

   CTX’s payments to [ROK] and [CTX-HK’s] payments to Benlida to have available if necessary

   as a reference for rebuttal to Benlida’s forthcoming expert report.” KM Report at 3 n.4. But

   they did not present that analysis in their report. They could not have even if it would have made

   sense to. Not only were they waiting for Benlida to disclose its expert’s report computing

   Benlida’s damages claim, but Benlida never even made an initial disclosure of its damages

   computation, leaving Mukamal and Parisi in the dark as to how Benlida would calculate its

   damages.

              Because Benlida did not serve the Paulikens Report or disclose any initial expert by the

   deadline, CTX suffered prejudice by the deprivation of its experts’ opportunity to develop a

   rebuttal opinion to contradict Paulikens’ opinions within the time allowed by the Local Rules and

   the Court’s scheduling order. See Jordan v. Filippone, HolosGen, LLC, No. 20-20023-

   SCOLA/TORRES, 2021 WL 1390370, at *4 (S.D. Fla. Apr. 13, 2021) (determining the

   defendants failed to show substantial justification or harmlessness in their disclosure of an

   “inadequate” expert report given the plaintiff’s arguments that she would not have sufficient time

   to identify and disclose a rebuttal expert and her note that the time for expert discovery and filing

   pretrial motions had passed, and the time for trial was fast approaching).




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              That prejudice to CTX could not be remedied given the history and late stage of the

   litigation and specifically, the Court’s “earlier-issued [scheduling] orders[,] … its active

   approach to case management,” and the fact that Benlida’s tardy disclosure “would completely

   upend the orderly course of litigation” by allowing Benlida to disclose affirmative opinions to

   CTX’s detriment, just days before the expert discovery cutoff. Kroll, 2020 WL 4793444, at *6.

   Even allowing CTX’s experts to file a surrebuttal report would not cure the prejudice to CTX

   given that, because of Benlida’s tardy disclosure, CTX’s experts and counsel would now be

   forced to divide their attention between drafting such a report and the multitude of other

   substantial tasks required during the remaining phase of pretrial preparation.

              Accordingly, Paulikens’ opinions discussing Benlida’s damages and unfairly faulting

   CTX’s experts for not considering Benlida’s claims to monies owed involving non-parties ROK

   and CTX-HK should be excluded.

        II.         PAULIKENS’ OPINIONS REGARDING CTX’S SUPPOSED CONTROL
                    OVER OR ITS LACK OF CORPORATE SEPARATION FROM CTX-HK
                    SHOULD BE EXCLUDED FOR INADMISSIBILITY UNDER THE FEDERAL
                    RULES OF EVIDENCE

              A. Legal Standard for Admitting Expert Testimony Under the Federal Rules

              Federal Rule of Evidence 702 governs the admissibility of expert testimony:

              If scientific, technical, or other specialized knowledge will assist the trier of fact
              to understand the evidence or to determine a fact in issue, a witness qualified as
              an expert by knowledge, skill, experience, training, or education, may testify
              thereto in the form of an opinion or otherwise, if (1) the testimony is based upon
              sufficient facts or data, (2) the testimony is the product of reliable principles and
              methods, and (3) the witness has applied the principles and methods reliably to
              the facts of the case.

   Cook ex rel. Estate of Tessier v. Sheriff of Monroe Cty., 402 F.3d 1092, 1106-07 (11th Cir. 2005)

   (quoting FED. R. EVID. 702).




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              In assessing admissibility under Rule 702, courts engage in a “rigorous three-part

   inquiry” that considers whether:

              (1) the expert is qualified to testify competently regarding the matters he intends
              to address; (2) the methodology by which the expert reaches his conclusions is
              sufficiently reliable as determined by the sort of inquiry mandated in Daubert [v.
              Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993)]; and (3) the testimony
              assists the trier of fact, through the application of scientific, technical, or
              specialized expertise, to understand the evidence or to determine a fact in issue.

   U.S. v. Frazier, 387 F.3d 1244, 1260 (11th Cir. 2004) (quoting City of Tuscaloosa v. Harcros

   Chems., Inc., 158 F.3d 548, 562 (11th Cir. 1998)). Inquiries regarding an expert’s

   “qualifications, reliability, and helpfulness” may overlap but the Rule’s requirements remain

   distinct concepts. Id. Although Rule 704(a) allows a qualified expert to testify about an ultimate

   issue of fact in the case, experts may not offer legal conclusions or the legal implications of

   conduct. See Montgomery v. Aetna Cas. & Sur. Co., 898 F.2d 1537, 1541 (11th Cir. 1990).

              B. Paulikens’ Opinions Regarding CTX’s Supposed Lack of Separation With and
                 Control Over CTX-HK Are Legal Conclusions and Otherwise Inadmissible

              Paulikens’ report suggests that CTX and CTX-HK are not separate entities and that CTX

   exercises “strong operational control and influence” over CTX-HK. Paulikens Report at 13. The

   notion that CTX controls CTX-HK or that they operate as “one and the same company” is

   fundamental to Benlida’s unpled legal theory that CTX should be made responsible for invoices

   issued to CTX-HK. See DE 188 at 2-13.6 While Paulikens is careful to couch his observations

   regarding CTX’s supposed control “from an accountant’s point of view,” and note when subject

   matter is “clearly an area of law” (Paulikens Report at 13), those caveats do not automatically

   render his opinions admissible expert testimony. Even if the Court rejects CTX’s arguments to

   the contrary in deciding CTX’s motion for summary judgment, Benlida may not offer Paulikens’


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     CTX’s motion for summary judgment seeks to preclude Benlida’s reliance on those unpled
   theories. See DE 184-1 at 6-11; DE 193 at 1-5.

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   testimony regarding the ultimate legal issues of CTX’s alleged control over CTX-HK or the two

   entities’ supposed lack of corporate separation.

              First, because statements regarding CTX’s control and corporate indistinctness with

   CTX-HK are legal conclusions, they should be excluded. Although Rule 704(a) allows a

   qualified expert to testify about an ultimate issue of fact in the case, experts may not offer legal

   conclusions or the legal implications of conduct since the Court must be the jury’s only source of

   law. See, e.g., Montgomery, 898 F.2d at 1541 (determining an expert’s opinion that one party

   had a duty to hire tax counsel in the case was an inadmissible legal conclusion). While Paulikens

   occasionally states that some of his opinions are solely “from an accountant’s standpoint”

   (Paulikens Report at 13), he openly acknowledges other opinions are legal conclusions. For

   instance, although his report observes that “it would seem” “CTX has control over CTX-HK,”

   and that “CTX-HK and CTX-US would appear to be controlled and dominated by CTX” (id.), he

   acknowledged at deposition that the question of “who is who and who controls what” is a “legal

   question.” Tr. 247:20-22; see also Tr. 255:4-8 (acknowledging that the “issue as to who is

   calling the shots where” is “a legal issue, kind of beyond my—it’s a legal issue”). The Court

   should exclude opinions that Paulikens himself has conceded are legal in nature, and that address

   whether the legal standard regarding corporate control has been satisfied. See Mamani v.

   Sanchez Berzain, No. 07-22459-CIV, 2018 WL 1090546, at *7 (S.D. Fla. Feb. 28, 2018)

   (excluding expert testimony that “goes one step too far” in opining defendants had “effective

   control” over Bolivian armed forces since it constituted a legal conclusion regarding defendants’

   liability under the “command responsibility doctrine”).

              Second, Paulikens’ opinion that CTX controls CTX-HK is without foundation as

   Paulikens has “articulated neither a generally accepted standard for [corporate control in



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   accounting], nor an explanation of how or why he believes [CTX controls CTX-HK],” Cook, 402

   F.3d at 1112, beyond generically referencing “patterns of payment behavior” or the calculation

   of lead-time penalties, Paulikens Report at 13; see also Tr. 255:23-256:18 (agreeing that the fact

   parties are related does not necessarily mean one controls the other; noting that factors like

   “centralized management” or “overlapping ownership” “just have a higher level of scrutiny in

   accounting”). At his deposition, he appeared to base his conclusion regarding CTX’s control on

   a vague sense that “from some of the papers … some of the decision makers, you know, defer to

   Rishi [Kukreja]. And … my understanding is … Rishi covers everything” in the “conglomerate.”

   Tr. 254:5-16; see also Tr. 257:5-17. But he was not able to specify Rishi Kukreja’s positions

   within CTX or CTX-HK, was “foggy … on the, you know, specific ownership roles” in the

   companies, and could not speak to any overlapping ownership between CTX and CTX-HK. Tr.

   254:17-255:8; 256:19-24. He also based his opinion on his “understanding” that “either [CTX-

   ]HK is owned by CTX or they’re controlled by some management company.” Tr. 255:16-19.

   There is zero evidence supporting either of those two suppositions. No such “management

   company” or “conglomerate” exists, and the evidence is that Promila Kukreja has final authority

   at CTX-HK, while Rishi Kukreja has final authority at CTX. See Transcript of Deposition of

   Rishi Kukreja (Exhibit 4) at 52:5-54:2. Because Paulikens’ opinion regarding CTX’s control

   over CTX-HK is thus “connected to existing data only by the ipse dixit of the expert,” it is

   inadmissible. Cook, 402 F.3d at 1112 (citations and internal quotation marks omitted).

              Finally, offering such testimony about control and corporate indistinctness—even if

   “from an accountant’s standpoint” (Paulikens Report at 13)—should be excluded under Federal

   Rule of Evidence 403 because it is likely to cause confusion among jurors between the relevant

   legal factors for control and corporate interrelatedness versus factors that may be relevant for



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   control and interrelatedness in accounting. The former is critical to Benlida’s case; the latter is

   unnecessary window dressing in the Paulikens Report. See Tr. 258:18-259:3 (denying that his

   perception regarding “disparate relationships” between corporate parties, as an accountant,

   influenced the opinions set forth in his report). Paulikens testified that features regarding

   companies’ relatedness could inform whether one company controls another, but ultimately

   conceded that relatedness does not necessarily equal control. See Tr. 256:9-12. His accountant’s

   understanding of the term “related parties” as “a fairly broad net with which to capture

   relationships” (Tr. 255:20-22), exposes the potential risk that jurors may substitute the specific

   requirements for legal control and corporate sameness for the broader and potentially more lax

   definitions apparently used in the accounting space.7 Paulikens’ testimony is thus unlikely to

   assist the trier of fact, and is actually likely to complicate juror deliberation.

              Paulikens’ expert testimony on these subjects is separately excludable under Rule 403

   because it is cumulative and “is intended merely to bolster” Benlida’s argument that CTX-HK’s



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     Courts in this Circuit have often excluded proffered evidence that speaks to a particular
   standard in a specific context when the evidence is likely to confuse or mislead the jury about the
   applicable legal standard or rule governing the context of the case. See In re Seroquel Prods.
   Liab. Litig., No. 6:06MD1769-ORL-22DAB, 2009 WL 223140, at *5-6 (M.D. Fla. Jan. 30,
   2009) (excluding evidence about foreign labeling standards and regulatory action related to a
   pharmaceutical drug because they might cause juror confusion regarding the applicable legal
   warning standards in plaintiff’s main case), aff’d, 601 F. Supp. 2d 1313 (M.D. Fla. 2009);
   Montgomery v. Brickell Place Condo. Assn, Inc., No. 11-24316-CIV, 2012 WL 1203837, at *1-2
   (S.D. Fla. Apr. 11, 2012) (Goodman, J.) (excluding EEOC letter finding “reasonable cause” to
   believe discrimination occurred given that different standard of proof for the EEOC’s finding
   “may sow confusion as to the proper burden of proof [at trial] and mislead the jury as to what
   weight it should give the EEOC letter”); Aetna Cas. & Sur. Co. v. Gosdin, 803 F.2d 1153, 1160
   (11th Cir. 1986) (noting that “the different standards of proof between a criminal prosecutorial
   decision and a civil case might mislead the jury”); Rozier v. Ford Motor Co., 573 F.2d 1332,
   1347-48 (5th Cir. 1978) (excluding guilty plea where auto driver admitted he “did cause the
   death of” plaintiff’s husband due to the risk of confusion it would create with the concepts of
   legal cause and duty in the context of the “second collision” doctrine which was central to
   plaintiff’s suit).


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   transactions should be factored into any determination of Benlida’s damages in the case. Brown

   v. Davis, 656 F. App’x 920, 922 (11th Cir. 2016) (explaining that testimony that is “intended

   merely to bolster a party’s case is more easily excluded under [Rule] 403 than testimony that

   forms a critical part of the case). Even if the Court denies CTX’s summary judgment arguments

   that CTX is not responsible for CTX-HK’s debts (DE 184-1 at 6-11; DE 193 at 1-5), such that a

   jury must determine whether CTX-HK’s transactions should be considered in computing

   Benlida’s damages, the Court should still exclude Paulikens’ testimony regarding CTX’s control

   and/or its supposedly “intertwined” relationship with CTX-HK. Such opinions would almost

   certainly be duplicative of testimony from other witnesses or documentation Benlida will seek to

   introduce in an effort to show that CTX and CTX-HK operate as one or that CTX controls CTX-

   HK, and it should therefore be excluded. See DE 188 (Benlida’s Opp. to Mot. for Summ. J.) at

   8; FED. R. EVID. 403 (providing for exclusion based on danger of “needlessly presenting

   cumulative evidence” outweighing probative value of evidence); Noel Shows, Inc. v. U.S., 721

   F.2d 327, 330 (11th Cir. 1983) (excluding evidence under Rule 403 because “its confusing and

   cumulative effect substantially outweighed its probative value” where the appellant had sought to

   introduce it for the same proposition that multiple witnesses had already testified to).

              Because of the risks of confusion and the presentation of needlessly cumulative evidence,

   the Court should exclude this testimony. Likewise, the risk that Paulikens’ testimony regarding

   CTX and CTX-HK’s corporate relationship in the accounting sphere “may be assigned

   talismanic significance in the eyes of lay jurors,” in evaluating CTX and CTX-HK’s relationship

   in the legal sphere, Frazier, 387 F.3d at 1263, counsels in favor of exclusion.




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                                   CERTIFICATE OF RULE 7.1(a)(3) CONFERENCE

              Undersigned counsel for CTX has conferred with counsel for Benlida in a good faith

   effort to resolve the issues raised in the motion and has been unable to do so.

   Dated: August 8, 2023                                                                          Respectfully submitted,

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                                                      CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission of

   Notices of Electronic Filing generated by CM/ECF on August 8, 2023 as filed with the Clerk of the

   Court using CM/ECF.


                                                                                                  By: /s/ Stephen F. Rosenthal         .
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